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                            UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLUMBIA

In re:                                                  1
                                                        )
         SECRET SERVICE UNIFORMED                       )       Case No. 13-00407
         DIVISION BENEFIT FUND,                         )       Chapter 7
                                                        1
                        Debtor.                         1

   NOTICE UNDER LBR 6004-1 OF TRUSTEE'S INTENTION TO SELL DEBTOR'S
          INVENTORY AND NOTICE OF OPPORTUNITY TO OBJECT

TO ALL INTERESTED PARTIES:

        PLEASE TAKE NOTICE that Wendell W. Webster, Esq., the Chapter 7 Trustee ("Trustee")
in Bankruptcy for Secret Service Uniformed Division Benefit Fund dba White House Gift Shop
("Debtor") intends to sell certain inventory owned by the Debtor, consisting of 7,052 metal
ornaments. The metal ornaments consist ofholiday ornaments as described in the Debtor's Schedule
B - Personal Property. The Debtor lists the retail value of the ornaments as unknown. The Trustee
proposes to sell the ornaments to ChemArt Company (ThemArt") for $5,641.60. The ornaments
will be sold to ChemArt on an "as is" and "where is" basis.

        The purchase price represents the highest offer made to the Trustee for the purchase of the
ornaments. The Debtor purchased these ornaments from ChemArt, and ChemArt is a creditor in the
case. With the exception of ChemArt's relationship with the Debtor, to the best of the Trustee's
knowledge, ChemArt nor any member or employee of ChemArt has any connections with the debtor,
creditors, or any other party in interest, their respective attorneys or accountants, the United States
Trustee, or any person employed in the office of the United States Trustee.

        PLEASE TAKE NOTICE THAT WITHIN TWENTY-FOUR (24) DAYS AFTER THE
DATE OF THIS NOTICE you must file and serve a written objection to this notice of intent to sell.
Any objection must set forth the name of the objecting party, the nature and amount of any claims
or interests held against Debtor's estate, and shall contain a complete specification of the factual and
legal grounds upon which the objection is based. You may append affidavits and documents you
wish to attach in support of your objection. Any objection must be filed with the Clerk of the United
States Bankruptcy Court for the District of Columbia, United States Courthouse, Room 4400, Third
and Constitution Avenue, N.W., Washington, D.C. 20001. A copy of the objection must also be
served (by delivery or mailing of a copy) upon the Trustee.
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       IF YOU FAIL TO FILE A TIMELY OBJECTION, THE TRUSTEE MAY PROCEED
TO SELL DEBTOR'S INVENTORY, EQUIPMENT, SUPPLIES AND FURNISHINGS
WITHOUT FURTHER NOTICE OR HEARING IN THIS MATTER. Parties in interest with
questions may contact the undersigned.

Date: September 23,2013          /s/Natalie S. Walker
                                 Natalie S. Walker, Esq., #499276
                                 WEBSTER, FREDRICKSON, CORREIA & PUTH, PLLC
                                 1775 K Street, N.W., Suite 600
                                 Washington, D.C. 20006
                                 (202) 659-85 10
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 23rd day of September, 2013, true and correct copy of the
foregoing Notice Under LBR 6004-1 of Trustee's Intention to Sell Debtor's Inventory and Notice
of Opportunity to Object was mailed by first class, postage prepaid, or sent via the Court's Electronic
Filing System to the creditors and interested parties listed on the attached mailing list:




                                       /s/ Natalie S. Walker
                                       Natalie S. Walker, Esq., #499276
                                       1775 K Street, N.W.
                                       Suite 600
                                       Washington, D.C. 20006
                                       (202) 659-8510
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                                         Aryeh S. Portnoy, Esq.                Baker Hostetler
                                         Crowell & Moring, LLP                 P.O. Box 70189
                                         1001 Pennsylvania Ave., N.W.          Cleveland, OH 44190-0189
                                         Washington, DC 20004-2595


CPT NP Building, LLC                     Capstone S.G., Inc.                   Cassie Matthews
1001 G Street, N.W. #700 W               5737 Kanan Road                       Brown & Joseph, Ltd,
Washington, DC 20001-4549                Agoura Hills, CA 91301-1601           P.O. Box 59838
                                                                               Schaumburg, IL 60159-0838


ChemArt                                  ChemArt                               Child Support Services Division
15 New England Way                       P.O. Box 845041                       Off ice of the Attorney General
Lincoln, RI 02865-4252                   Boston, MA 02284-5041                 Judiciary Square 441 4th Street, NW
                                                                               5th Floor
                                                                               Washington, DC 20001

D.C. Office of Tax and Revenue           D.C. Unemploy. Comp. Board            DC Unemploy. Comp. Board
Bankruptcy Division                      6th and Penna. Ave., N.W.             609 H St., NE
1101 4th Street SW                       Washington, DC 20001-2106             Room 3530367
Washington, DC 20024-4457                                                      Washington, DC 20002-4347


Derrick F. Coleman, Esq.                 Dewey & LeBoeuf LLP                   District Unemployment Compensation Board
Coleman Frost LLP                        1101 New York Avenue, N.W.            4058 Minnesota Ave., NE
429 Santa Monica Blvd. #700              Washington, DC 20005-4272             4th Floor
Santa Monica, CA 90401-3435                                                    Washington, DC 20019-3540


Hanover Insurance                        Internal Revenue Service              John T. Lillis, Esq.
440 Lincoln Street                       P.O. Box 7346                         Kennedy, Lillis, Schmidt et, a1
Worcester, MA 01653-0002                 Philadelphia, PA 19101-7346           75 Maiden Lane #402
                                                                               New York, NY 10038-4816


David E Lynn                             Mitchell B. Weitzman, Esq.            Ofc of Corp. Counsel
15245 Shady Grove Rd.                    Jackson & Campbell, P.C.              1 Judiciary Sq.
Suite 465 N                              1120 20th Street, N.W. #300 S         441 4th St., N.W.
Rockville, MD 20850-7203                 Waehington, DC 20036-3437             6th F1. North, Ste 1060
                                                                               Washington, DC 20001-2714

Office of Attorney General               Paul J. Maloney, Esq.                 Peterson & Brynan
Tax, Bankruptcy, and Finance                           .
                                         Carr Maloney P C.                     9430 Olympic Blvd. #400
One Judiciary Square                     2000 L Street, N.W. #450              Beverly Hills, CA 90212-4552
441 4th Street, NW                       Washington, DC 20036-4981
6th Floor
Washington, DC 20001-2714
Carlyn Winter Prisk                      Sean Lynch                            Secret Service Uniformed Division Benefit Fu
US Environmental Protection Agency       2500 N. Van Dorn Street #I018         P.O. Box 27221
Region I11 (3HS62)                       Alexandria, VA 22302-1628             Washington, DC 20038-7221
1650 Arch St.
Philadelphia, PA 19103-2087

Secretary of the Treasury                Securities and Exchange Commission    The Licensing Group Ltd.
15th and Pennsylvania Aveneu, NW         Office of Reorganization              6363 Wilshire Blvd. #305
Washington, DC 20220-0001                950 East Paces Ferry Road, Ste. 900   Los Angeles, CA 90048-5726
                                         Atlanta, GA 30326-1382
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0. S. Trustee for Region Four       U.S. Attorney's Office                  U.S. Environmental Protection Agency
U. S. Trustee's Office                            -
                                    Civil Division Judiciary Ct. Building   Attn: Mary Wagner
115 South Union St                  555 4th St., N.W.                       Region I11
Suite 210 Plaza Level               4th Floor                               1650 Arch Street (3RC00)
Alexandria, VA 22314-3317           Washington, DC 20001-2733               Philadelphia, PA 19103-2029

Visa Cold
P.O. Box 015909
Dallas, TX 75381-5909



White Rouse Fed. Credit Union
4121 Wilson Boulevard #I00
Arlington, VA 22203-4143
